             Case:20-10221-JGR Doc#:1 Filed:01/13/20                                  Entered:01/13/20 19:15:20 Page1 of 38


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Declaration Brewing Company, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2030 S Cherokee Street
                                  Denver, CO 80223
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Denver                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.declarationbrewing.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case:20-10221-JGR Doc#:1 Filed:01/13/20                                      Entered:01/13/20 19:15:20 Page2 of 38
Debtor    Declaration Brewing Company, Inc.                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:

                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
            Case:20-10221-JGR Doc#:1 Filed:01/13/20                                     Entered:01/13/20 19:15:20 Page3 of 38
Debtor   Declaration Brewing Company, Inc.                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case:20-10221-JGR Doc#:1 Filed:01/13/20                                    Entered:01/13/20 19:15:20 Page4 of 38
Debtor    Declaration Brewing Company, Inc.                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 13, 2020
                                                  MM / DD / YYYY


                             X   /s/ Michael Blandford                                                    Michael Blandford
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Devon Michael Barclay                                                 Date January 13, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Devon Michael Barclay
                                 Printed name

                                 Devon Barclay, PC
                                 Firm name

                                 2435 Ingalls Street
                                 Denver, CO 80214
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     720-515-9887                  Email address      devon@devonbarclaypc.com

                                 52663 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
           Case:20-10221-JGR Doc#:1 Filed:01/13/20                                              Entered:01/13/20 19:15:20 Page5 of 38




 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 13, 2020                        X /s/ Michael Blandford
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Blandford
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                Case:20-10221-JGR Doc#:1 Filed:01/13/20                                           Entered:01/13/20 19:15:20 Page6 of 38


 Fill in this information to identify the case:
 Debtor name Declaration Brewing Company, Inc.
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Accel Funding                                                                                                                                                            $53,650.00
 500 University
 Avenue
 Palo Alto, CA 94301
 Alcohol and                                                                                                                                                                $5,000.00
 Tobacco Tax and
 Trade Bureau
 Director,
 Regulations and
 Rulings Divisi
 1310 G Street, NW.,
 Box 12
 Washington, DC
 20005
 BaseCamp Brew                                                                                                                                                            $14,583.33
 2549 W Main St, Ste
 201
 Littleton, CO 80120
 Capital One                                                     business credit                                                                                            $7,908.21
 P.O. Box 30279                                                  card
 Salt Lake City, UT
 84130
 City and County of                                                                                                                                                         $7,000.00
 Denver -
 TreasuryUnit
 201 W. Colfax Ave
 Denver, CO 80202
 Codi Manufacturing                                                                                                                                                         $5,000.00
 Inc.
 14352 W 44th Ave
 Golden, CO 80403
 Colorado                                                                                                                                                                 $12,000.00
 Department of
 Revenue
 1375 Sherman St
 5th Floor
 Denver, CO 80261


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                Case:20-10221-JGR Doc#:1 Filed:01/13/20                                           Entered:01/13/20 19:15:20 Page7 of 38



 Debtor    Declaration Brewing Company, Inc.                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Everest                                                                                                                                                                  $50,000.00
 8200 NW 52nd Ter.
 2nd Floor
 Miami, FL 33166
 Fox Business                                                                                                                                                             $23,000.00
 Funding
 17640 Bentley Dr
 Morgan Hill, CA
 95037
 Hopsteiner                                                      Purchased hops                                                                                         $104,436.00
 725 5th Avenue
 New York, NY 10022
 Indie Hops                                                                                                                                                                 $5,555.44
 2505 SE 11th Ave
 Ste 311
 Portland, OR 97202
 Internal Revenue                                                withholding taxes                                                                                        $10,000.00
 Service
 1999 Broadway
 Denver, CO 80202
 Invisible Window                                                                                                                                                           $5,600.00
 318 Poppy View Ln
 Erie, CO 80516
 QuarterSpot                                                                                                                                                            $130,000.00
 345 7th Ave, Suite
 1100
 New York, NY 10001
 Rees Davis and                                                                                                                                                         $200,000.00
 Partners
 3695 East Long
 Road
 Littleton, CO 80121
 Republic National                                                                                                                                                          $8,500.00
 Distributing
 Company
 8000 Southpark
 Terrace
 Littleton, CO 80120
 Retail Capital /                                                                                                                                                       $115,000.00
 Credibly
 915 Broadway, Suite
 1003
 New York, NY 10010
 Smyth Companies,                                                Cans                                                  $5,000.00                $18,000.00                  $5,000.00
 LLC
 1085 Snelling Ave
 Saint Paul, MN
 55108
 Vectra Bank                                                     business credit                                                                                            $9,820.00
 2000 S Colorado                                                 card
 Blvd #2
 Denver, CO 80222


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Declaration Brewing Company, Inc.                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Vectra Bank                                                     Canning Line                                        $38,748.00                 $32,000.00                  $6,748.00
 2000 S Colorado
 Blvd #2
 Denver, CO 80222




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           511,482.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           511,482.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           115,248.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            34,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           745,292.98


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             894,540.98




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     CityWide Banks                                          Checking                                                                 $3,500.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $3,500.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Declaration Brewing Company, Inc.                                                Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           Malts, Hops, Barley and
           other ingredients                          12/30/19                                 $0.00    Liquidation                         $5,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $5,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office equipment and supplies                                                       $0.00    Liquidation                         $2,500.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
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 Debtor         Declaration Brewing Company, Inc.                                             Case number (If known)
                Name

           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $2,500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2016 Ford F350 Transit                                                 $0.00    Liquidation                       $16,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Canning Line                                                                     $0.00    Liquidation                       $32,000.00


           Fermentation Tanks and Brewing Equipment                                         $0.00    Liquidation                      $284,644.00


           Forklift                                                                         $0.00    Liquidation                       $18,000.00


           Crowling Machine                                                                 $0.00    Liquidation                         $1,750.00


           Kegs                                                                             $0.00    Liquidation                         $5,000.00


           Cans                                                                             $0.00    Liquidation                       $18,000.00


           Depalletizer                                                                     $0.00    Liquidation                       $30,000.00


           Improvements and fixtures used for brew-pub                                      $0.00    Liquidation                       $39,800.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Declaration Brewing Company, Inc.                                            Case number (If known)
                Name



            Roller Grinder, Orbital Shaker, Thermal Cycler,
            Polymer Chain Reaction System, UV
            Spectrophotometer, CO2 Measuring Device,
            Misc. Lab equipment                                                             $0.00    Liquidation          $55,288.00




 51.        Total of Part 8.                                                                                          $500,482.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 4
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 Debtor          Declaration Brewing Company, Inc.                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,500.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $5,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $500,482.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $511,482.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $511,482.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Crown Cork and Seal                            Describe debtor's property that is subject to a lien                   $23,000.00                $18,000.00
       Creditor's Name                                Cans
       1035 E North St
       Bradley, IL 60915
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Crown Cork and Seal
       2. Smyth Companies, LLC

 2.2   EJ Enterprises                                 Describe debtor's property that is subject to a lien                     $2,500.00                $1,750.00
       Creditor's Name                                Crowling Machine
       2577 E 79th Ave
       Denver, CO 80229
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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 Debtor       Declaration Brewing Company, Inc.                                                        Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Ford Motor Credit                              Describe debtor's property that is subject to a lien                      $8,000.00   $16,000.00
       Creditor's Name                                2016 Ford F350 Transit
       One American Rd, MD 7440
       Dearborn, MI 48126
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Keg Logistics Services                         Describe debtor's property that is subject to a lien                     $10,000.00    $5,000.00
       Creditor's Name                                Kegs
       9360 Station St #325
       Lone Tree, CO 80124
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Smyth Companies, LLC                           Describe debtor's property that is subject to a lien                      $5,000.00   $18,000.00
       Creditor's Name                                Cans
       1085 Snelling Ave
       Saint Paul, MN 55108
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 4
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 Debtor       Declaration Brewing Company, Inc.                                                        Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.6   Vectra Bank                                    Describe debtor's property that is subject to a lien                     $38,748.00    $32,000.00
       Creditor's Name                                Canning Line
       2000 S Colorado Blvd #2
       Denver, CO 80222
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Wells Fargo                                    Describe debtor's property that is subject to a lien                     $20,000.00    $18,000.00
       Creditor's Name                                Forklift
       420 Montgomery Street
       San Francisco, CA 94104
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Zions Bank                                     Describe debtor's property that is subject to a lien                      $8,000.00   $284,644.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 4
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 Debtor       Declaration Brewing Company, Inc.                                                        Case number (if know)
              Name

       Creditor's Name                                Fermentation Tanks and Brewing Equipment
       P.O. Box 25787
       Salt Lake City, UT 84125
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $115,248.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $5,000.00         $5,000.00
           Alcohol and Tobacco Tax and                               Check all that apply.
           Trade Bureau                                                 Contingent
           Director, Regulations and Rulings                            Unliquidated
           Divisi                                                       Disputed
           1310 G Street, NW., Box 12
           Washington, DC 20005
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $7,000.00         $7,000.00
           City and County of Denver -                               Check all that apply.
           TreasuryUnit                                                 Contingent
           201 W. Colfax Ave                                            Unliquidated
           Denver, CO 80202                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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 Debtor       Declaration Brewing Company, Inc.                                                               Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $12,000.00    $12,000.00
           Colorado Department of Revenue                            Check all that apply.
           1375 Sherman St                                              Contingent
           5th Floor                                                    Unliquidated
           Denver, CO 80261                                             Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $10,000.00    $10,000.00
           Internal Revenue Service                                  Check all that apply.
           1999 Broadway                                                Contingent
           Denver, CO 80202                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $53,650.00
           Accel Funding                                                               Contingent
           500 University Avenue                                                       Unliquidated
           Palo Alto, CA 94301                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $550.00
           Aire-Master of America, Inc.                                                Contingent
           PO Box 2310                                                                 Unliquidated
           Nixa, MO 65714                                                              Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,000.00
           Alpine Waste and Recycling                                                  Contingent
           7373 Washington St                                                          Unliquidated
           Denver, CO 80229                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 6
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 Debtor       Declaration Brewing Company, Inc.                                                       Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,583.33
          BaseCamp Brew                                                         Contingent
          2549 W Main St, Ste 201                                               Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $180.00
          Beacon Printing Inc                                                   Contingent
          2161 S Platte River Dr                                                Unliquidated
          Denver, CO 80223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,908.21
          Capital One                                                           Contingent
          P.O. Box 30279                                                        Unliquidated
          Salt Lake City, UT 84130                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business credit card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Codi Manufacturing Inc.                                               Contingent
          14352 W 44th Ave                                                      Unliquidated
          Golden, CO 80403                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,800.00
          DMSL                                                                  Contingent
          1331 17th Street, Suite 800                                           Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,000.00
          Everest                                                               Contingent
          8200 NW 52nd Ter. 2nd Floor                                           Unliquidated
          Miami, FL 33166                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,000.00
          Fox Business Funding                                                  Contingent
          17640 Bentley Dr                                                      Unliquidated
          Morgan Hill, CA 95037                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 6
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 Debtor       Declaration Brewing Company, Inc.                                                       Case number (if known)
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,436.00
          Hopsteiner                                                            Contingent
          725 5th Avenue                                                        Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchased hops
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $350.00
          Hyperion Wholesale                                                    Contingent
          414 Broadway Unit C                                                   Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,555.44
          Indie Hops                                                            Contingent
          2505 SE 11th Ave                                                      Unliquidated
          Ste 311                                                               Disputed
          Portland, OR 97202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          Invisible Window                                                      Contingent
          318 Poppy View Ln                                                     Unliquidated
          Erie, CO 80516                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Moss Adams                                                            Contingent
          1999 Broadway #4000                                                   Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Proximity Malt                                                        Contingent
          1001 N County Rd 3 E                                                  Unliquidated
          Monte Vista, CO 81144                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $130,000.00
          QuarterSpot                                                           Contingent
          345 7th Ave, Suite 1100                                               Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 6
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 Debtor       Declaration Brewing Company, Inc.                                                       Case number (if known)
              Name

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $200,000.00
           Rees Davis and Partners                                              Contingent
           3695 East Long Road                                                  Unliquidated
           Littleton, CO 80121                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,500.00
           Republic National Distributing Company                               Contingent
           8000 Southpark Terrace                                               Unliquidated
           Littleton, CO 80120                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $115,000.00
           Retail Capital / Credibly                                            Contingent
           915 Broadway, Suite 1003                                             Unliquidated
           New York, NY 10010                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,500.00
           Teton Distributors                                                   Contingent
           1650 View Dr                                                         Unliquidated
           Casper, WY 82604                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $9,820.00
           Vectra Bank                                                          Contingent
           2000 S Colorado Blvd #2                                              Unliquidated
           Denver, CO 80222                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    business credit card
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,000.00
           Waste Management                                                     Contingent
           1001 Fannin, Suite 4000                                              Unliquidated
           Houston, TX 77002                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $360.00
           Whiskey Barrel Coffee                                                Contingent
           4980 Monaco St Unit E                                                Unliquidated
           Commerce City, CO 80022                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 6
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 Debtor       Declaration Brewing Company, Inc.                                                   Case number (if known)
              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.1       Burns, Wall and Mueller PC
           303 E 17th Ave #920                                                                   Line     3.4
           Denver, CO 80203
                                                                                                        Not listed. Explain

 4.2       Rees Davis and Partners
           3695 East Long Road                                                                   Line     3.4
           Littleton, CO 80121
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                     34,000.00
 5b. Total claims from Part 2                                                                       5b.    +    $                    745,292.98

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                      779,292.98




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Lease for internet and
             lease is for and the nature of               coax services
             the debtor's interest

                  State the term remaining                Revolving
                                                                                       Comcast
             List the contract number of any                                           One Comcast Center
                   government contract                                                 Philadelphia, PA 19103


 2.2.        State what the contract or                   Lease for 2016 Ford
             lease is for and the nature of               Transit
             the debtor's interest

                  State the term remaining                40 months
                                                                                       Ford Motor Credit
             List the contract number of any                                           One American Rd, MD 7440
                   government contract                                                 Dearborn, MI 48126


 2.3.        State what the contract or                   Service contract for
             lease is for and the nature of               repairs
             the debtor's interest

                  State the term remaining
                                                                                       General Air Service and Supply
             List the contract number of any                                           1105 Zuni St
                   government contract                                                 Denver, CO 80204


 2.4.        State what the contract or                   Lease for website
             lease is for and the nature of               hosting
             the debtor's interest

                  State the term remaining
                                                                                       GoDaddy
             List the contract number of any                                           14455 N. Hayden Road
                   government contract                                                 Scottsdale, AZ 85260




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 Declaration Brewing Company, Inc.                                                    Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   IT Consulting Contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       LIVE Consulting
             List the contract number of any                                           2941 W. 19th Ave
                   government contract                                                 Denver, CO 80204


 2.6.        State what the contract or                   Lease for in-store
             lease is for and the nature of               ordering platform
             the debtor's interest

                  State the term remaining                                             MobileBytes
                                                                                       555 W Beech St
             List the contract number of any                                           Suite 222
                   government contract                                                 San Diego, CA 92101


 2.7.        State what the contract or                   Phone service contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                             Verizon Wireless Bankruptcy Administrati
                                                                                       500 Technology Drive
             List the contract number of any                                           Suite 550
                   government contract                                                 Saint Charles, MO 63304




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Declaration Brewing Company, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $110,000.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,059,000.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,112,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Declaration Brewing Company, Inc.                                                         Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Retail Capital / Credibly                                                                    $20,000.00                Secured debt
               915 Broadway, Suite 1003                                                                                               Unsecured loan repayments
               New York, NY 10010
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               QuarterSpot                                                                                  $20,000.00                Secured debt
               345 7th Ave, Suite 1100                                                                                                Unsecured loan repayments
               New York, NY 10001
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               Fox Business Funding                                                                         $15,000.00                Secured debt
               17640 Bentley Dr                                                                                                       Unsecured loan repayments
               Morgan Hill, CA 95037
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               Accel Funding                                                                                $15,000.00                Secured debt
               500 University Avenue                                                                                                  Unsecured loan repayments
               Palo Alto, CA 94301
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.5.
               Everest                                                                                      $18,000.00                Secured debt
               8200 NW 52nd Ter. 2nd Floor                                                                                            Unsecured loan repayments
               Miami, FL 33166                                                                                                        Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

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 Debtor       Declaration Brewing Company, Inc.                                                             Case number (if known)



           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    BaseCamp Brew LLC v.                              Forcible entry and           Denver County Court                         Pending
               Declaration Brewing et al                         detainer                     520 W Colfax Ave                            On appeal
               2019CV34952                                                                    Denver, CO 80204
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        Declaration Brewing Company, Inc.                                                         Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Devon Barclay, PC
                 2435 Ingalls Street
                 Denver, CO 80214                                    Attorney Fees                                             1/10/20                    $400.00

                 Email or website address
                 devon@devonbarclaypc.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.
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 Debtor      Declaration Brewing Company, Inc.                                                          Case number (if known)




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       West Evans Self Storage                                       Michael Blandford                    Tent for promotional booths,            No
       1208 W Evans Ave                                              2659 S. Lafayette St,                old plastic tanks, ski lift chair       Yes
       Denver, CO 80223                                              Denver CO 80210

       Warehouse                                                     Mike Landford                        Kegs and cans                           No
       Mississippi and Kalamath                                      2659 S. Lafayette St,                                                        Yes
                                                                     Denver CO 8021



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).


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 Debtor      Declaration Brewing Company, Inc.                                                          Case number (if known)



      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Moss Adams                                                                                                                 2018-2019
                    1999 Broadway #4000
                    Denver, CO 80202

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None


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 Debtor      Declaration Brewing Company, Inc.                                                          Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Blandford                              2659 S Lafayette St                                 CEO and President                     75
                                                      Denver, CO 80210

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lisa Blandford                                 2659 S. Lafayette St                                Chief Operating Officer               10
                                                      Denver, CO 80210



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor      Declaration Brewing Company, Inc.                                                          Case number (if known)



    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 13, 2020

 /s/ Michael Blandford                                                  Michael Blandford
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                                               United States Bankruptcy Court
                                                                          District of Colorado
 In re      Declaration Brewing Company, Inc.                                                              Case No.
                                                                                  Debtor(s)                Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Art Angeli                                                          common         8796                              shares
 2574 S Zang St                                                      shares
 Denver, CO 80228

 Ashley Angeli                                                       common         1312                              shares
 12305 W Texas Dr                                                    shares
 Denver, CO 80228

 Charles Hood                                                        common         199                               shares
 6106 Holland St                                                     shares
 Arvada, CO 80004

 Christian Whayne                                                    common         1799                              shares
 6106 Holland St                                                     shares
 Arvada, CO 80004

 Darik Angeli                                                        common         1312                              shares
 2574 S Zang St                                                      shares
 Denver, CO 80228

 David Piacenti                                                      common         694                               shares
 2645 S. King St.                                                    shares
 Denver, CO 80219

 Greg Schlichting                                                    Common         8011                              shares
 6432 Kipling St                                                     shares
 Arvada, CO 80004

 Jordan Angeli                                                       commons        1312                              shares
 2574 Zang St                                                        shares
 Denver, CO 80228

 Kristen Mitchell                                                    Common         8011                              shares
 6959 Wellginton Dr                                                  shares
 Dexter, MI 48130

 Lindy Angeli                                                        common         8011                              shares
 2574 S Zang St                                                      shares
 Denver, CO 80228

 Michael Blandford                                                   common         103841                            shares
 2659 S. Layafette St                                                shares
 Denver, CO 80210

 Michael Gagliardi                                                   common         1265                              shares
 13450 W 26th Ave                                                    shares
 Golden, CO 80401

Sheet 1 of 2 in List of Equity Security Holders
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 In re:    Declaration Brewing Company, Inc.                                                             Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Peter & Debra Schupanitz                                            common           2235                                      shares
 7622 Sunshine Peak                                                  shares
 Littleton, CO 80127


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 13, 2020                                                        Signature /s/ Michael Blandford
                                                                                            Michael Blandford

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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                                                               United States Bankruptcy Court
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 In re      Declaration Brewing Company, Inc.                                                      Case No.
                                                                                Debtor(s)          Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       January 13, 2020                                        /s/ Michael Blandford
                                                                     Michael Blandford/President
                                                                     Signer/Title




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